WO
                    IN THE UNITED STATES DISTRICT COURT

                          FOR THE DISTRICT OF ALASKA


RAYMOND C. GIVENS,                      )
                                        )
                             Plaintiff, )
      vs.                               )
                                        )
WALLACE OENGA,                          )                  No. 3:19-cv-0043-HRH
                                        )
                            Defendant. )
_______________________________________)

                                       ORDER
                              Motion for Rule 60(b) Relief1
      The United States, on behalf of the Department of the Interior, and the Bureau of

Indian Affairs (“BIA”) moves for relief of the court’s orders of August 14, 2020,2 and
October 15, 2020,3 pursuant to Rules 60(b)(5) and 60(b)(6), Federal Rules of Civil Proce-
dure. The motion is opposed by plaintiff.4 The United States has replied.5

      By default judgment entered June 10, 2019,6 the court entered a declaratory judg-
ment in plaintiff’s favor, putting in place a procedure by which attorney fees owed by
defendant Wallace Oenga could be paid from lease rentals paid by BP to the Bureau of
Indian Affairs, Office of Special Trustee (“OST”) in trust for Wallace Oenga. The BP

      1
       Docket No. 87.
      2
       Docket No. 74.
      3
       Docket No. 80.
      4
       Docket No. 88.
      5
       Docket No. 89.
      6
       Docket No. 29.

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rentals have heretofore gone into defendant’s Individual Indian Money (“IIM”) account.
The court’s declaratory judgment required Wallace Oenga to execute and deliver to the

OST a Form OST-01-004, directing the BIA to pay to plaintiff out of defendant’s IIM
account 25% of the BP rentals deposited to defendant’s IIM account. Wallace Oenga

refused to execute the OST-01-004 form; and, in proceedings to enforce the court’s judg-

ment through Rule 70(a), Federal Rules of Civil Procedure, the court ordered the clerk of
court to execute the OST-01-004 and that the OST treat the form signed by the clerk of

court as though it were signed by Wallace Oenga himself and then make payment to
plaintiff in accordance with the court’s default judgment. The United States, on behalf of

the OST, sought reconsideration of the court’s order enforcing its judgment. Recon-
sideration was denied, and the OST was directed to proceed as required by the court’s

August 14, 2020, order.7
      The orders as to which the United States, on behalf of the Department of the Inter-

ior, seeks relief were founded upon the availability of the BIA procedure whereby a trust
beneficiary such as Wallace Oenga could authorize the OST to disburse funds from the

beneficiary’s IIM account by means of the Form OST-01-004. Wallace Oenga died
during January 2022. In November of 2022, after having demanded payment of his share

of the 2023 BP rental payment, plaintiff learned of Wallace Oenga’s death.

      In seeking relief from the orders, the United States represents that upon Wallace
Oenga’s death, his IIM account and rights to future disbursements from the BP rental
payments became subject to Bureau of Indian Affairs (“BIA”) probate proceedings. The

United States argues that the BIA and OST are potentially subject to conflicting obliga-
tions: compliance with the orders and the protection of Wallace Oenga’s heirs.


      7
       Clerk’S Docket No. 80.

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       In his opposition to the United States’ motion for relief from the orders, plaintiff
does not dispute the United States’ argument that Wallace Oenga’s pending and future

payments on the default judgment against Wallace Oenga are subject to BIA probate
proceedings. Plaintiff expressly states that he “does not intend to seek payment outside

the probate proceeding of Mr. Oenga’s estate.”8 Plaintiff further represents that he is

preparing to submit a claim for the enforcement of the court’s default judgment in the
federal probate proceedings.

       The United States, on behalf of the Department of the Interior, seeks relief from
the orders pursuant to Rule 60(b)(5) and (6), Federal Rules of Civil Procedure.

Rule 60(b)(5) relief is available when “applying [the orders] prospectively is no longer
equitable.” Because of Wallace Oenga’s demise, disbursements from his IIM account

outside of the federal probate proceedings would be inequitable because it would poten-
tially expose the BIA to conflicting obligations. In other words, the means of enforcing

the court’s default judgment which had been employed are no longer available; and
plaintiff must, as he advises he will do, seek enforcement of the court’s judgment in his
favor through the federal probate proceedings.

       The United States’ motion for relief from the orders is granted. The United States
Department of the Interior is relieved from making payments to plaintiff from Wallace
Oenga’s IIM account pursuant to the Form OST-01-004 executed by the clerk of court at

the direction of the court.

       DATED at Anchorage, Alaska, this 1st day of March, 2023.



                                                  /s/ H. Russel Holland
                                                  United States District Judge

       8
        Docket No. 88 at 2.

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